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From: a.filatev@tonlabs.io [a.filatov@tonlabs.io]

Sent: 19/09/2019 03:44:05

To: John Hyman {j.hyman@ton.ventures]; Oleg Seydak [oleg@gramvault.com]; Shyam Parekh
[shyam @telegram.org]; Ilya Perekopsky [perekopsky @telegram.org]

Subject: Fwd: CB <> TON Labs Questionnaire

Dear team, we will try hard to close Coinbase on the listing (long call with 100 questions answered today)
and support. Agreed on a separate call with SDG, timing tbe for later this week / early next week.

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Or: Zach Segal<zach.segal@coinbase.com>

Hata: Ben cp, cent. 18, 2019 B 22:48

Tema: Fwd: CB <> TON Labs Questionnaire

Komy: <a.filatov@tonlabs io>

Konus: Nemil Dalal <nemil.dalal@coinbase.com>,Dan Fan
<dan.fan@coinbase.com>,Patrick O'Grady <patrick.ogrady@coinbase.com>
Hi Alexander, thank you for your help!

 

 

We are in the midst of our TON Labs Rust Telegram node implementation and wanted to
confirm that this node would behave similarly to the official TON node. All our questions are
in the doc attached. Could your team fill this out, and then we can schedule time to discuss?
Ideally, itd be great to discuss sometime on Friday.

One question to flag for you: What testing has been done to date to confirm that your full
node will be at feature parity with the official TON full node? Is there a test suite (and
possibly a feature matrix) that we can use to compare the two node implementations?

As mentioned via Telegram, we must disclose for legal purposes that this does not mean we
are confirmed to be adding support -- we are only exploring at this time. We will assess
Telegram against factors like security and compliance, with an official decision on whether
will be supporting the network coming later. This is, however, critical to us in our technical
evaluation and we greatly appreciate you and your team's continued help.

With regards,

 

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